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        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                               Detroit Field OITice
                                                                                    477 Michigan Avenue, Room 865
                                                                                                 Detroit, MI 48226
                                                                                                   (313)378-2470
                                                                                           Website; vvvwv.ceoc.sov



                  DETERMINATION AND NOTICE OF RIGHTS
                       (This Notice replaces EEOC FORMS 161 & 161-A)

                                       Issued On: 06/01/2023
To: Alexander R. Glasgow
    205 Palmer In
    BRYAN,OH 43506
Charge No: 543-2022-00299
EEOC Representative and email:       ADWYA SAEED
                                     Investigator
                                     adwya.saeed@eeoc.gov


                               DETERMINATION OF CHARGE


The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations ofthe statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                             NOTICE OF YOUR RIGHT TO SUE

This is official notice fi-om the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days.(The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 543-2022-00299.

                                               On behalf of the Commission,

                                              Digitally Signed By:Michel[e Eisele
                                              06/01/2023
                                              Michelle Eisele
                                              District Director
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